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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 DEL RIO DIVISION

United States of America                       §
                                               §
vs.                                            §    Case Number: DR:22-CR-02316(1)-AM
                                               §
(1) Abdul Wasi Safi                            §


                           ORDER RESETTING ARRAIGNMENT


           IT IS HEREBY ORDERED that the above entitled and numbered case is reset for
9:00 AM, in Courtroom 4, on the Third Floor of the United States Courthouse, 111 E. Broadway,
Del Rio, TX, on November 03, 2022.

            IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order
to the defendant, counsel for defendant, the United States Attorney, U.S. Pretrial Services, United
States Probation Office, and any surety or custodian, if applicable. Further, counsel for the
defendant shall notify the defendant of this setting. If the defendant is on bond, he/she
shall be present.


           IT IS SO ORDERED this 31st day of October, 2022


                                              ______________________________
                                              VICTOR ROBERTO GARCIA
                                              UNITED STATES MAGISTRATE JUDGE
